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                                                                    Monday, 11 November, 2019 04:40:07 PM
                                                                               Clerk, U.S. District Court, ILCD
10452-85
BMS/BJV/tlp
                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                                          URBANA DIVISION

 KIMBERLY BRIGHAM, Individually and as               )
 Independent Administrator of the Estate of          )
 JAMES B. BRIGHAM, Deceased,                         )
                                                     )
                    Plaintiff,                       )
                                                     )
              v.                                     )   No. 19-cv-01300-CSB-EIL
                                                     )
 COLES COUNTY, ILLINOIS, JIMMY RANKIN,               )
 COLES COUNTY DEPUTIES WILLIAM BILBREY,              )
 SAMUEL A. JACKSON, & DEPUTY JOHN DOE                )
 (ID# 288),                                          )
                                                     )
                    Defendants.                      )

                                  DEFENDANTS’ MOTION TO DISMISS

          NOW COMES the Defendants, COLES COUNTY, ILLINOIS, JIMMY RANKIN, WILLIAM

BILBREY and SAMUEL A. JACKSON by HEYL, ROYSTER, VOELKER & ALLEN, and in support of their

Motion to Dismiss, state as follows:

                                         I.      INTRODUCTION

          1.       On January 22, 2018, a pre-trial detainee named James Brigham slipped past the

correctional officer escorting him out a second-floor courtroom in the Coles County Courthouse,

then ran up to and dove over the second-floor railing in the Courthouse’s rotunda, falling to the

first floor. Mr. Brigham’s leap caused him injuries which ultimately resulted in his death.

          2.       On September 9, 2019, Plaintiff Kimberly Brigham filed the instant Complaint. (d/e

#1).




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3.        In her Complaint, Plaintiff asserts the following claims:

     a. Count I (Sec. 1983; Deliberate Indifference to a Serious Medical Need; All

          Defendants): That Mr. Brigham was suicidal, and therefore suffered a mental

          illness that all Defendants were deliberately indifferent towards.

     b. Count II (Sec. 1983; Unsafe Conditions of Confinement; All Defendants): That

          all Defendants knew that the “facilities at the Coles County Courthouse were

          dangerous and prone to suicide attempts,” and “the policies a tissue in this matter”

          did not adequately guarantee the safety of Mr. Brigham.

     c. Counts III and IV (Sec. 1983; Monell; Sheriff Rankin): That a specific Coles

          County Sheriff’s Office policy for addressing a detainee’s mental health issues and

          transportation security was deficient, and therefore the moving force behind Mr.

          Brigham’s death.

     d. Counts V and VI (Wrongful Death/Survival Act; Negligence; All Defendants):

          That all Defendant’s breached a duty (adequate screening at intake; supervision

          while exiting the courthouse), resulting in Mr. Brigham’s suicide.

     e. Count VII (Wrongful Death/Survival Act; Negligent Infliction of Emotional

          Distress; All Defendants): That the Defendants refused or failed to provide

          adequate care or supervision for Mr. Brigham, constituting “extreme and

          outrageous conduct.”

     f.   Count VIII (State-law Indemnification; Coles County, Illinois): That Coles

          County is liable for any damages resulting from the individual defendant’s actions

          under 745 ILCS 10/9-102.




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        4.     For the reasons described below, portions of Plaintiff’s Complaint should be

dismissed or stricken.

                                   II.     STANDARD OF REVIEW

    Federal Rule of Civil Procedure 12(b)(6) permits a Motion to Dismiss for failing to state a claim

for which relief can be granted. To state such a claim, Rule 8(a)(2) requires a “short and plain

statement of the claim showing that the pleader is entitled to relief.” While Rule 8 does not require

detailed factual allegations, “it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949, 173 L.Ed.2d 868 (2009). “Factual

allegations must be enough to raise a right to relief above the speculation level.” Twombly, 550

U.S. at 555.

    In determining whether the plaintiff’s complaint survives a motion to dismiss, the court must

employ a two-step process. First, a court must identify the “allegations in the complaint that are

not entitled to the assumption of truth.” Iqbal, 129 S. Ct. at 1951. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id. at

1949. Conclusory allegations are “not entitled to be assumed true” and cannot be considered for

purposes of determining whether the complaint states a claim for relief. Id. at 1951. Once the

court determines those allegations which can be considered, it must then determine whether such

allegations “state[] a plausible claim for relief…” Id. at 1950. “[W]here the well-pleaded facts do

not permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged-but it has not ‘show[n]-‘that the pleader is entitled to relief.’” Id. (quoting FRCP 8(a)(2)).

Accordingly, “[i]n the interest of justice and economy, every effort should be made by the district

court from the start of a case to determine its likely merit and guide it to a swift conclusion as is




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consistent with doing justice to the parties.” Milam v. Dominick’s Finer Foods, Inc., 588 F.3d 955,

959 (7th Cir. 2009).

                                          III.      ARGUMENT

   A. Count II (§ 1983; Conditions of Confinement): A courthouse stairway is not the sort
      of “condition” that can be subject to a “conditions of confinement” claim.

   Plaintiff alleges that all Defendants were exhibited “deliberate indifference” to Mr. Brigham’s

safety when they allegedly knew “the facilities at the Coles County Courthouse were dangerous

and prone to suicide attempts.” (d/e #1, ¶80). The only specified “facilit[y]” of the Courthouse that

Plaintiff mentions is the second-floor railing outside a courtroom, which overlooks the

Courthouse’s rotunda. (d/e #1, ¶56).

   Briefly stated, Plaintiff appears to be attempting to convert a “medical needs” claim into a

constitutionalized premises-liability claim. Counsel has not found a basis for such a theory. See,

e.g., French v. Owens, 777 F.2d 1250, 1257 (7th Cir. 1986) (observing, in Eighth Amendment context,

that the constitution was not violated for failure to adhere to OSHA regulations or state fire codes).

Therefore, Plaintiff’s Count II should be dismissed; or, alternatively, Defendants are entitled to

qualified immunity.

              1. A courthouse railing, on its own, is not an unconstitutionally hazardous
                                                condition

   The Seventh Circuit recently concluded that all Fourteenth Amendment “conditions of

confinement” claims are to be evaluated under the Miranda v. County of Lake standard for

“objective reasonableness.” Hardeman v. Curran, 933 F.3d 816, 822-23 (7th Cir. Aug. 12, 2019)

(citing Miranda v. Cnty. of Lake, 900 F.3d 335 (7th Cir. 2018)). Under this standard, a defendant

may be liable for a “condition of confinement” when: (1) the condition in question was objectively

serious; (2) the defendant acted “purposefully, knowingly, or recklessly” with respect to the

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consequences of his or her actions; and (3) the defendant’s actions were objectively-unreasonable

due to being “not rationally related to a legitimate governmental objective or . . . excessive in

relation to that purpose.” Id. at 827 (Sykes, J., concurring) (quoting Kingsley 135 S. Ct. 2466, 2473-

74 (2015)).

    Plaintiff’s Complaint errors at the initial step of the inquiry: Plaintiff has not alleged a

constitutionally significant condition of confinement. (This prong of the inquiry is the same

regardless of whether a claim is brought under the Fourteenth or Eighth Amendment, and

therefore cases under either amendment are relevant.)

    First, the railing is part of government building that is open to the public, and thus not a

“condition of confinement.” As Hardeman notes, “conditions of confinement” claims generally

involve the “denial of life’s basic necessities, such as adequate food, clothing, shelter, and medical

care.” Id. (citing Farmer v. Brennan, 511 U.S. 825, 834 (1994). Plaintiff’s allegations in Count II speak

to none of these issues, which are all ultimately aimed at ensuring a detainee has “the minimal

civilized measure of life’s necessities,” Id. at 821. Instead, Plaintiff alleges that a railing exists

(apparently without any quality defects) on the second floor of a courthouse, overlooking a

rotunda. This courthouse railing—unlike a prison, jail, or holding cell—is in a portion of the

courthouse that is open to the public. Stated differently, one does not even need to be “confined”

to use the railing in question.

    Furthermore, counsel has not found any authority suggesting a railing or other portion of a

courthouse open to the public is a constitutionally significant “condition of confinement.” The

only case counsel could find that involved a “condition” in a courthouse involved a detention cell

at a courthouse, presumably in an area closed-off to the public. Partee v. Cook County Sheriff’s

Dep’t., 863 F. Supp. 778, 781 (N.D. Ill. 1994) (affirming dismissal under Eight-Amendment standard;

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insufficient allegation of an unconstitutional condition of confinement where detainee was locked

up in a Courthouse holding cell for “several hours” without access to cold water or toilet paper).

    Second, there is nothing allegedly dangerous about the railing in question. The Plaintiff does

not allege the railing is two inches off the ground (and therefore functionally useless), that the

middle of the railing was broken, or that the railing was otherwise deficient in its ability to function

as a railing. Instead, Plaintiff alleges that when Mr. Brigham and two other individuals were

determined enough to commit suicide by jumping to their demise, they were able to do so. (d/e

#1, ¶¶ 56, 81).

    By analogy, the stairs in a prison are not an unconstitutionally-dangerous “condition of

confinement” simply because they exist and an individual could theoretically throw themselves

down them to cause injury — indeed, prison stairs are not a dangerous condition even when they

are wet/slippery. See Pyles v. Fahim, 771 F.3d 403, 410-11 (7th Cir. 2014). Instead, stairs become

an unconstitutionally dangerous “condition of confinement” if they are wet/slippery, and littered

with trash and other easily-removed obstacles, and the inmate walking down them has handcuffs

behind his back (limiting his balance). Anderson v. Morrison, 835 F.3d 681, 683 (7th Cir, 2016).

Plaintiff’s Complaint lacks any allegations establishing such a danger. Her Complaint’s “stairs” are

not even slippery/wet—they are only “stairs.”

    All of the above underscores how Plaintiff’s concern about the Courthouse’s railing does not

fit a “condition of confinement” claim. If the focus is instead on the mental health issue that

prompted Mr. Brigham to commit suicide, then Plaintiff can (and does) allege a “medical needs”

claim. See (d/e #1, Count I). If Plaintiff instead believes there was error with the Sheriff’s policies

regarding how Mr. Brigham was supervised, then Plaintiff can (and does) allege a Monell claim.

(Counts III, IV). But Plaintiff’s constitutional claim relating to the railing itself must be dismissed.

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                   2. In the alternative, Defendants are entitled to qualified immunity

    Qualified immunity protects “public servants from liability for reasonable mistakes made while

performing their public duties.” Filay v. Lendermon, 722 F.3d 895, 899 (7th Cir. 2013). If this Court

concludes the Defendants subjected Mr. Brigham’s right to not be in proximity to the subject

courthouse railing, qualified immunity will block liability if this constitutional right was not “clearly

established” such that it was “sufficiently clear that every reasonable official would have

understood that what he is doing violates that write”. Mullenix v. Luna, 136 S. Ct. 305, 308 (2015)

(internal quotations and citations omitted). Stated differently, there need not be an identical case

as Mr. Brigham’s that preceded his demise, but the courts cannot define “clearly established law

at a high level of generality”. Id.

    Assuming arguendo that Plaintiff’s allegations plausibly plead that Defendants violated Mr.

Brigham’s rights, Defendants are entitled to qualified immunity. As best counsel can tell, there is

no case within the Seventh Circuit establishing that a detainee is subject to an unconstitutionally

hazardous “condition of confinement” simply by being near a second floor railing in a public

building. Indeed, as best counsel can tell, the case law suggests the opposite. (See Part III.A(1),

supra). Qualified immunity is therefore warranted.

    B. Counts V (Wrongful Death), VI (Survival Act), and VII (“NIED”): Defendants cannot
       be liable in state law for the act of an “escaping” detainee/prisoner, and Plaintiff
       alleges the improper mental state.

    Plaintiff’s three substantive state-law claims must be dismissed with prejudice, as Illinois law

immunizes local governmental employees for injuries resulting from an “escaping” detainee. In

the alternative, these counts must be dismissed because they fail to allege the necessary mental

state.




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    Preliminarily, Plaintiff alleges that all Defendants are municipal employees or offices and acting

within the scope of their employment. (d/e #1, ¶¶ 7–12). As such, the Defendants may avail

themselves of Illinois’ Local Governmental and Governmental Employee Tort Immunity Act. 740

ILCS 10/1-101 et seq. (hereinafter, “Tort Immunity Act”).

                 1. The Tort Immunity Act immunizes Defendants for injuries caused by
                                          “escaping prisoners.”

    Counts V through VII are all predicated on Mr. Brigham’s unfortunate death (d/e #1, ¶¶ 56–

59,,94, 99, 102). According to the Complaint, Mr. Brigham died because, while being escorted out

of a second-floor courtroom by Officer Bilbrey, Mr. Brigham left his escort, “pitched” himself over

the second-floor railing, and fell to the floor below. (d/e #1, ¶56). Stated differently, Mr. Brigham

fled Defendant Bilbrey’s custody and jumped to his demise from the second floor.

    Illinois’ Tort Immunity Act states that “[n]either a local public entity nor a public employee is

liable for . . . [a]ny injury inflicted by an escaped or escaping prisoner.” 745 ILCS 10/4-106(b). The

issue is whether Mr. Brigham was a “prisoner” and “escaping” for purposes of the immunity.

    First, Mr. Brigham was a “prisoner.” Under the Act, “prisoner” is defined as “a person held in

custody.” Ries v. City of Chi., 242 Ill. 2d 205, 216 (2011) (citing Act). “Custody,” for its part, is not

defined by the Act; however, our Supreme Court has construed the term to go beyond formal

imprisonment to include (at minimum) being placed in the back of a police squad car, because

the individual’s freedom of movement had been controlled or limited by lawful authority. Id. at

217 (applying 740 ILCS 10/4-106(b)). Here, the Complaint alleges Mr. Brigham was “under the

custody” of the Coles County Sheriff as a consequence of Mr. Brigham’s arrest and incarceration

at the Coles County Jail. (d/e #1, ¶¶ 5, 19). Mr. Brigham was also being escorted by correctional




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officers at the time he leapt to his death. (d/e #1, ¶¶ 55–56). Mr. Brigham was therefore “in custody”

and thus a “prisoner” for purposes of the Section 4-106(b).

           Second, Mr. Brigham was “escaping” at the time he leapt to his death. “Escaping” for

purposes of Section 4-106(b) has, to counsel’s knowledge, not been clearly defined by either the

Act or the case law. Perhaps because such a definition is unnecessary: if “custody” means an

individual’s “freedom of movement has been directly controlled and limited” by the lawful act of

an officer,1 then “escape” must require an attempt to leave the “custody” (i.e., restrictions/control)

of the officer. Thus, driving away from a traffic stop is “escaping.” Townsend v. Anderson, 2019 IL

App (1st) 180771, ¶¶ 18, 34 (1st Dist. July 25, 2019); see also Ries, 242 Ill. 2d 205. Illinois’ crime of

“escape” also tracks this logic. 720 ILCS 5/31-6(a),(b) (person commits offense of “escape” when

he escapes from the custody of a penal institution employee); People v. Howell, 388 Ill. App. 3d

338, 340–44 (4th Dist. 2009) (defendant committed offense of “escape” while being escorted from

a sixth-floor courtroom because defendant broke away from a court security guard and ran down

the stairs before being apprehended by other guards at the third floor). If an individual commits

the crime of “escaping” by simply running down a few flights of stairs in a courthouse, then

jumping from the second to the first floor of a courthouse should be an “escape” for purposes of

a civil immunity a fortiori.

      Finally, the plain language of Section 4-106(b) immunizes the Defendants for “any injury

inflicted” by an escaped prisoner. “Any” means “any”: Section 4-106(b) is one of the Tort Immunity

Act’s sections that “clearly provide[s] blanket immunity for all conduct by immunizing liability for

any injury, without exception.” Doe -3 v. McLean Cnty. Unit Dist. No. 5, 2012 IL 112479, ¶69 (listing




1
    Townsend v. Anderson, 2019 IL App (1st) 180771, ¶32 (1st Dist. July 25, 2019) (citing Ries, 242 Ill. 2d at 217).
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Section 4-106(b) among blanket immunities). Thus, the plain language of the statute immunizes

Defendants for the suffering Mr. Brigham caused himself and Plaintiff when he escaped custody.

Moreover, the fact an escaping prisoner left “custody” due to some error by a municipal defendant

does not defeat the immunity — such an argument would render Section 4-106(b) “a nullity” as

“[a]nytime a prisoner escapes from custody, a plaintiff would likely be able to point to some failure

by those responsible for keeping the prisoner in custody.” Ries, 242 Ill. 2d at 219.

   In sum, Plaintiff’s Complaint pleads her into a blanket immunity: Mr. Brigham was an “escaping

prisoner” under Section 4-106(b) of the Tort Immunity Act, and therefore Plaintiff’s state-law

claims must be dismissed.

              2. Plaintiff has not alleged the required “willful and wanton” mental state.

   If this Court concludes Defendants are not absolutely immunized under 740 ILCS 10/4-106(b),

then Plaintiff’s Counts V, VI, and VII still must be dismissed for failure to plead a “willful and

wanton” mental state.

   None of the allegations in Counts V, VI, or VII themselves (or incorporated by reference

thereto) allege a mental state higher than “negligence.” However, a number of provisions in the

Tort Immunity Act govern Plaintiff’s apparent state-law theories — all require an elevated mental

state of “willful and wanton” misconduct. 740 ILCS 10/2-202 (“Execution or enforcement of law”);

id. § 4-105 (“Failure to furnish medical care for prisoner”). Thus, whether Plaintiff’s state-law

theories are predicated on an alleged failure to maintain custody of Mr. Brigham before he jumped

to his death, or some alleged failure to provide medical treatment, Plaintiff must alleged a “willful

and wanton” mental state. The current Complaint neglects to do so, and should be dismissed.




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   C. Counts I and II (§ 1983): Plaintiff’s Complaint appears to allege that Sheriff Rankin is
      liable for the conduct of his agents/respondeat superior.

   There is no respondeat superior liability under Section 1983; each defendant must be directly

involved in a given constitutional violation. Ball v. City of Indianapolis, 760 F.3d 636, 643 (7th Cir.

2014).

   Here, Count I repeatedly alleges that “agents” of Sheriff Rankin did or did not do a certain act,

and then concludes Sheriff Rankin (as part of the unspecified “Defendants”) is liable under Count

I. (d/e #1, ¶¶ 17, 20, 24, 27, 28, 30, 39, 59, 66, 67); Id. at p.18. There is no allegation that Sheriff

Rankin himself specifically did any relevant act in Count I or II, which are not Monell claims. These

allegations for Counts I and II can therefore only attempt to hold Sheriff Rankin liable in his

capacity as a supervisor, which makes him an improper defendant for these Counts.

   Granted, there are a few outlier allegations in Plaintiff’s Complaint, but none of these evince a

sincere attempt to hold Sheriff Rankin individually liable in Counts I and II.

   To start, there are a number of general allegations that “Defendants” (unspecified) were aware

of Mr. Brigham’s risk of suicide yet purportedly failed to take some action, (d/e #1, ¶¶ 29–30, 33,

75–77, 80–82). However, these are conclusory “group pleadings” that are insufficient to put Sheriff

Rankin on notice of any act he individually did or did not take. See, e.g., Harrison v. Ill. DOT, 2011

U.S. Dist. LEXIS 661145, 20 (N.D. Ill. 2011) (noting a lack of requisite personal involvement in a §

1983 complaint when plaintiff’s complaint “lumps each of the individual defendants together

without regard to their respective roles, if any” in the alleged constitutional violation). Coles

County, for example, would be considered part of the “defendants” for these allegations as plead,

and yet no Coles County employee is specifically referenced in the Complaint, and Mr. Brigham is

not alleged to have been anywhere he would have interacted with one.


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   Finally, Paragraph 59 alleges that “Defendant RANKIN” failed to provide decedent with

medical treatment despite knowing decedent posed a suicide risk. This allegation is unconnected

to a supporting allegation establishing why/how Rankin personally knew or had any reason to

know of Mr. Brigham’s condition. Indeed, subsequent allegations suggest Plaintiff did not intend

to allege any type of individual involvement in Mr. Brigham’s demise aside from as a Monell

defendant. (d/e #1, ¶ 67) (alleging injury would not have occurred “but for” conduct of Bilbrey,

Jackson, Doe, and “other agents”, but not listing Rankin as a “but for” cause force); Id. at ¶¶ 68–72

(alleging Rankin established deficient policies, causing injury). Thus, Paragraph 59 is a conclusory

allegation that an individual “knew something despite notice” without any connecting causation

allegation against Rankin’s individual conduct (as compared to in his capacity as a policy writer).

All other allegations against Rankin suggest that he did nothing other than employ other named

defendants, and write policies.

   Therefore, Sheriff Rankin should be dismissed from Counts I and II for lack of personal

involvement, as he cannot be held constitutionally liable under respondeat superior under Section

1983. Ball, 760 F.3d at 643.

   D. Punitive damages cannot be sought under a Monell theory, and should be struck
      from Counts III and IV.

   In Counts III and IV, Plaintiff seeks punitive damages against Sheriff Rankin/the Coles County

Sheriff’s Office due to alleged Monell liability. (d/e #1, p.23, 25). Punitive damages cannot be

sought against a municipality. City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 258–71 (1981);

Burks v. Raemisch, 555 F.3d 592, 593–94 (7th Cir. 2009). Therefore, Plaintiff’s prayer for punitive

damages must be stricken from Counts III and IV.




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    E. Coles County should be dismissed from Counts I, II, V, VI, and VII, because the County
       is only a proper defendant in this action for indemnification purposes.

    Plaintiff’s Complaint alleges that Defendant Coles County is in this action “pursuant to Carver

v. Sheriff of LaSalle County [. . .] and also as a result of its failure to correct dangerous conditions

at the Coles County Courthouse . . . .”. (d/e #1, ¶ 8).

    Defendant acknowledges that Coles County is a proper party-defendant for purposes of

ensuring any judgment entered against the Coles County Sheriff’s Office. Carver v. Sheriff of

LaSalle County, 324 F.3d 947, 948 (7th Cir. 2003).

    However, Coles County cannot be liable in its own capacity for any alleged “failure to correct

dangerous conditions at the Coles County Courthouse”. (d/e #1, ¶ 8). Under Illinois law, Coles

County is not responsible for maintaining the subject courthouse — the Coles County Sheriff’s

Office and its employees are. 55 ILCS 5/3-6017; see e.g., Riley v. Cnty. of Cook, 682 F. Supp. 2d 856,

860–61 (N.D. Ill. 2010). This also means that, contrary to Plaintiff’s Complaint, Coles County is not

the “principal” of Defendant Sheriff Rankin. (d/e #1, ¶ 7). Instead, Sheriff Rankin represents a

constitutionally-distinct entity called the Coles County Sheriff’s Office, Moy v. County of Cook, 159

Ill. 2d 519, 524–525 (1994), which is included in this suit already through Plaintiff’s claims against

Sheriff Rankin in his official capacity. See, e.g., Jacobo v. Will Cnty. Sheriff’s Office, 2011 U.S. Dist.

LEXIS 11410, at *14 (N.D. Ill. 2011) (citing Sow v. Fortville Police Dep’t, 636 F.3d 293, 300 (7th Cir.

2011)).

    Consequently, the following portions of Plaintiff’s Complaint should be dismissed or stricken:

    1. Coles County should be dismissed from Counts I, II, V, VI, and VII, which each assert direct
       liability against “all defendants” or “Defendants” without excluding Coles County. (d/e #1:
       Count I, ¶¶ 75–76; Count II, ¶ 80–82; Count V, ¶¶ 95–96; Count VI, ¶¶ 95–96; Count VII, ¶¶
       103–105).




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   2. This Court should strike the allegations that Sheriff Rankin or any of his office’s deputies
      are an “agent” or “employee” for Coles County, or somehow act on behalf of Coles County.
      (d/e #1, ¶¶ 7, 9, 10, 11).

   3. This Court should strike the allegation that Coles County “operates the Coles County Jail
      and Coles County Courthouse”. (d/e #1, ¶ 12).

   F. Plaintiff does not have a private cause of action under the Illinois Constitution, and
      any such claims should be dismissed.

   Any claims Plaintiff brings under the Illinois constitution should be dismissed; or, if no such

claims are brought, then references to the Illinois constitution should be stricken. FRCP 12(f).

   Plaintiff’s Complaint purports to state claims under various portions of the Illinois constitution

(d/e #1, ¶2), before ultimately appearing to specify her belief that Counts I and II are brought

under the Illinois constitution’s “due process”/”equal protection” clause in addition to Section

1983. Id. at ¶ 74, 78. These allegations are then incorporated by reference into all of Plaintiff’s

various counts, but none of the prayers for relief allude to Illinois’ constitution.

   Plaintiff’s issue is that there is no recognized private right of action under the Illinois

constitution — at least, that counsel can identify. See, e.g., Shelvin v. Rauner, 2019 U.S. Dist. LEXIS

33054, at *3–4 (N.D. Ill. Mar. 1, 2019) (collecting cases). Moreover, Illinois’ constitution is

interpreted using a “limited lockstep” model, where provisions that are phrased identically to

provisions of the federal constitution are generally imbued with the same meaning/interpretations

as the federal constitution. See generally, People v. Caballes, 221 Ill. 2d 282 (2006) (providing

history of Illinois’ “limited lockstep” approach). The due process/equal protection clauses Plaintiff

cites from the federal and Illinois constitutions are, in relevant part, phrased identically, and thus

would be treated alike under either Illinois or federal law. “Where state common law or federal

law provides an adequate remedy to a plaintiff . . . a plaintiff may not maintain an independent




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cause of action under the Illinois Constitution.” S.J. v. Perspectives Charter Sch., 685 F. Supp. 847,

862–863 (N.D. Ill. 2010) (collecting cases).

   As a result, any claims Plaintiff is asserting under Illinois law should be dismissed with prejudice

under Rule 12(b)(6), and any portion of Plaintiff’s Complaint referring to the Illinois Constitution

stricken under Rule 12(f).

                                         IV.       CONCLUSION

   For the reasons stated above, the aforementioned portions of Plaintiff’s Complaint should be

dismissed.

                                       Respectfully submitted,

                                       COLES COUNTY, ILLINOIS, JIMMY RANKIN, WILLIAM
                                       BILBREY and SAMUEL A. JACKSON, Defendants

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                                TYPE VOLUME CERTIFICATION

Pursuant to Local Rules 7.1(B)(4), Counsel certifies that this Motion includes 15 double-spaced
pages (in addition to this page of Certification and Service), and does not contain more than 7,000
words according to the word processing system used to prepare this Motion. The aforementioned
portions contains approximately 4,450 words.

                                                     Respectfully submitted,


                                                     s/Bryan Vayr_______________________
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                                      PROOF OF SERVICE

       I hereby certify that on November 11, 2019, I electronically filed the foregoing
DEFENDANTS’ MOTION TO DISMISS, with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the following:

Chad S. Beckett
Andrew W. B. Bequette
Juan C. Bernal
Beckett Law Office, P.C.
508 S. Broadway
Urbana, IL 61801

        I also hereby certify that I have mailed, by United States Postal Service, the foregoing to
the following non-CM/ECF participant: None.



                                                     s/Bryan Vayr
                                                     Heyl, Royster, Voelker & Allen



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